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                    BEFORE THE UNITED STATES JUDICIAL PANEL
                         ON MULTIDISTRICT LITIGATION


IN RE: 23ANDME, INC. CUSTOMER DATA                      MDL No. 3098
SECURITY BREACH LITIGATION



          RESPONSE OF PLAINTIFFS SCHUTZ, VOGEL, AND MULLEN IN
         OPPOSITION TO MOTION FOR TRANSFER AND CONSOLIDATION

I.     INTRODUCTION

       Pursuant to 28 U.S.C. § 1407 and the Rules of Procedure of the Judicial Panel on

Multidistrict Litigation, Plaintiffs Michael Schutz, Cody Vogel, and Eileen Mullen (together,

“Plaintiffs”) (plaintiffs in Schutz, et al. v. 23andMe, Inc., Case No. 3:23-cv-05579-EMC (N.D.

Cal.)), by and through their undersigned counsel, submit this response in opposition to Defendant

23andMe, Inc.’s (“23andMe”) Motion for Transfer and Consolidation of Defendant 23andMe, Inc.

Litigation Pursuant to 28 U.S.C. § 1407 (“Motion” or “Mot.”), and any subsequent “tag along”

cases involving similar claims. Currently, 34 actions from three (3) districts have been related into

this MDL (the “Related Actions”). See Corrected Schedule of Actions, ECF No. 3; Notice of

Related Actions, ECF No. 13. Plaintiffs believe that transfer and consolidation is unnecessary here,

as the actions can be consolidated informally due to the limited number of actions outside of the

Northern District of California. Should the Panel centralize the actions, Plaintiffs believe that the

Northern District of California is the best forum for consolidation.

II.    ARGUMENT

       A. Section 1407 Centralization is Unnecessary

       Of the 34 Related Actions, only three (3) are pending outside of the Northern District of

California. See Corrected Schedule of Actions, ECF No. 3; Notice of Related Actions, ECF No.

13. The Panel has stated, “[w]here there are only a limited number of actions and the involved
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parties are amenable to Section 1404 transfer, such transfer is generally preferable to centralization

under Section 1407.” In re: Gaiam, Inc., Water Bottle Mktg., Sales Pracs. & Prod. Liab. Litig.,

672 F. Supp. 2d 1373, 1374-75 (J.P.M.L. 2010)

         The actions in the Northern District of California have all been related and are now all

before or have been referred to the same judge, the Honorable Edward M. Chen. See Santana, et

al. v. 23andMe, Inc., No. 3:23-cv-05147-EMC, ECF Nos. 20, 24, 27, 45, 46, 49. Indeed, the parties

recently filed a Joint Case Management Statement before that Court. See id., ECF No. 54.

Additionally, transfer of the out-of-district cases pursuant to 28 U.S.C. § 1404 should not pose any

jurisdictional issues, as all of those cases name only 23andMe as a defendant. See Corrected

Schedule of Actions, ECF No. 3; Notice of Related Actions, ECF No. 13. As “centralization under

Section 1407 should be the last solution after considered review of all other options,” the Panel

should deny the motion for centralization pursuant to 28 U.S.C. § 1407 and encourage the parties

to transfer the cases pending outside of the Northern District of California to the Northern District

of California under 28 U.S.C. § 1404. In re Best Buy Co., 804 F. Supp. 2d 1376, 1378 (J.P.M.L.

2011).

         B. Should the Court Centralize the Actions, the Northern District of California is the
            Best Forum

         Should the Court choose to centralize the Related Actions, Plaintiffs concur with

23andMe’s position that the Northern District of California is the optimal transferee forum. As

noted previously, 31 of the 34 Related Actions are pending in the Northern District of California.

See Corrected Schedule of Actions, ECF No. 3; Notice of Related Actions, ECF No. 13.

23andMe’s principal place of business is located within the Northern District of California,

meaning that the affected databases and the majority of relevant documents, witnesses, and other

evidence relating to 23andMe’s data security are likely located in the Northern District of



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California. In addition, the judges in the Northern District of California are highly experienced in

managing MDLs. The Northern District of California is the ideal forum for centralization if the

Panel chooses to centralize the actions.

III.     CONCLUSION

         For the foregoing reasons, Plaintiffs Michael Schutz, Cody Vogel and Eileen Mullen

request that the Panel deny 23andMe’s Motion for Transfer and Consolidation. Should the Court

grant the motion, Plaintiffs believe that the Northern District of California is the best transferee

forum.

                                              Respectfully submitted,

Dated: January 18, 2024                       /s/ Matthew B. George
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